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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

DISABILITY LAW CENTER, INC.,   )
                               )
           Plaintiff,          )
                               )
v.                             )                     Case No. 1:15-cv-11888
                               )
F.L. CHAMBERLAIN INTERNATIONAL )
SCHOOL,                        )
                               )
          Defendant.           )

       JOINT STIPULATION ON PLAINTIFF’S MOTION FOR PRELIMINARY
              INJUNCTION AND STATUS REPORT TO THE COURT

       Now comes the Plaintiff, Disability Law Center, Inc. (“DLC”), through its counsel and

the Defendant, F.L. Chamberlain International School (“Chamberlain”), through its counsel, and

hereby stipulate to the following:

       1. The parties are currently drafting an agreement regarding access of the DLC to

           Chamberlain in the above referenced matter.

       2. The DLC, without waiving its right to proceed with the injunction at a later date,

           wishes to inform this Court that, in light of the impending agreement with the

           Defendant, it is not currently planning to pursue the Preliminary Injunction.

       3. In light of the impending agreement, the parties agree that an Answer by the

           Defendant is not required at this point in time. The parties agree that the timeline to

           file an Answer is stayed.

       The DLC reserves its right to proceed with the Preliminary Injunction and to require the

Defendant to file an Answer should parts of the above referenced agreement fall apart during

DLC’s access to Chamberlain. Should any of these stipulations change, DLC will provide at a

minimum five business days’ notice to Chamberlain and to this Court.
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Respectfully Submitted,

Disability Law Center, Inc.                           F.L. Chamberlain International School,
By its attorneys,                                     By its attorneys,

_/s/ Erin Hehn____________                            _/s/Katharine Felluca_____________
Erin E. Hehn, BBO #684837                             Roderick MacLeish, Jr., BBO#311880
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Dated: July 8, 2015

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the EFC system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on July 8, 2015.

                                                      _/s/ Erin Hehn____________
